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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

THE CHEROKEE NATION,                             )
                                                 )
                Plaintiff,                       )
                                                 )
                v.                               )       Case No. CIV-16-1354-SLP
                                                 )
THE DEPARTMENT OF THE                            )
INTERIOR, et al.                                 )
                                                 )
                Defendants.                      )

                     PLAINTIFF’S REQUEST FOR ORAL
               ARGUMENT ON DEFENDANTS’ MOTION TO DISMISS

       COMES NOW Plaintiff, Cherokee Nation, and respectfully requests oral argument

on Defendants’ Motion to Dismiss [Doc. No. 51] (herein “Defendants’ Motion”). In

support of this request, Plaintiff Cherokee Nation states:

       1.       Plaintiff Cherokee Nation filed this action on November 28, 2016, seeking

an equitable accounting of the trust assets held and managed by Defendants.           See

Complaint [Doc. No. 1].

       2.       On April 7, 2017, Defendants’ filed their Motion seeking dismissal of

Plaintiff’s claims asserting that this Court lacks jurisdiction over such claims, despite

ample authority to the contrary. See Doc. No. 51.

       3.       On June 14, 2017, Plaintiff Cherokee Nation filed its Response in

Opposition to Defendants’ Motion [Doc. No. 63].              Thereafter, on July 21, 2017,

Defendants filed their Reply Brief regarding their Motion [Doc. No. 70].

       4.       On May 4, 2018, Plaintiff Cherokee Nation supplemented its Response in
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Opposition [Doc. No. 63] with additional authority supporting denial of Defendants’

Motion that was issued after the briefing on Defendants’ Motion was complete. See Doc.

No. 72. Defendants responded to this supplement on May 18, 2018. See Doc. No. 73.

       5.       The briefing on Defendants’ Motion was completed July 21, 2017, a little

over a year ago.

       6.       After briefing was complete, on November 27, 2017, this action was

reassigned to the Honorable Scott L. Palk.        Plaintiff believes Oral Argument on

Defendants’ Motion would be beneficial both due to the factual and legal issues being

placed before the Court for resolution, and to discuss with the Court the background of

the case prior to reassignment.

       7.       Counsel for Defendants have been contacted regarding Defendants’

position on this Motion and Counsel for Defendants indicated that they believe the relief

requested herein is unnecessary as a request for oral argument was made in the briefing

on Defendants’ Motion.

       WHEREFORE, Plaintiff Cherokee Nation respectfully requests the Court set a

hearing date for Oral Argument at its earliest convenience to hear and rule on

Defendants’ Motion to Dismiss [Doc. No. 51], along with any other relief the Court

deems just and proper.




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                           Respectfully submitted on August 15, 2018,


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                            CERTIFICATE OF SERVICE


       I hereby certify that on the 15th day of August, 2018, I electronically transmitted
the attached document to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following:
Anthony.Hoang@usdoj.gov
Dedra.Curteman@usdoj.gov


                                                       s/Dallas Lynn Dale Strimple
                                                       Dallas Strimple




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